Case: 4:23-cv-01126-JMB Doc. #: 1-2 Filed: 09/08/23 Page: 1 of 16 PageID #: 6




         EXHIBIT A
         Case.net:2322-CC01286 - TAMARA Doc.
            Case: 4:23-cv-01126-JMB     HAWKINS  V CHAMBERLAIN
                                             #: 1-2              UNIVERSITY
                                                    Filed: 09/08/23         (E-CASE)
                                                                    Page: 2 of       - Docket
                                                                               16 PageID  #: 7Entries
Click here to Respond to Selected Documents
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Display Options: All Entries
 08/31/2023
              Corporation Served

              Document ID - 23-SMCC-4888; Served To - CHAMBERLAIN UNIVERSITY; Server - ; Served Date - 11-AUG-23; Served Time -
              08:00:00; Service Type - Sheriff Department; Reason Description - Served; Service Text - S.L. DESIGNEE
 07/27/2023
              Alias Summons Issued

              Document ID: 23-SMCC-4888, for CHAMBERLAIN UNIVERSITY.
              Alias Summons Requested
 07/18/2023
              Notice of Service

              23-SMCC-3589.
              Corporation Served
              Document ID - 23-SMCC-3589; Served To - CHAMBERLAIN UNIVERSITY; Served Date - 07/17/2023; Served Time - 07:24:00;
              Service Type - SD; Reason Description - SERV; Service Text -
 07/11/2023
              Jury Trial Scheduled
                 Scheduled For: 12/04/2023; 9:00 AM; ELIZABETH BYRNE HOGAN; City of St. Louis
 06/28/2023
              Judge/Clerk - Note

              Copy of petition for Carrie Sherman
              Correspondence Filed

              A LETTER MAILED TO PLAINTIFF WITH SERVICE SUMMONS AND PETITION TO SEND TO ST LOUIS COUNTY, MO
              SHERIFF'S DEPARTMENT FOR SERVICE ON DEFENDANT
              Summons Issued-Circuit

              Document ID: 23-SMCC-3589, for CHAMBERLAIN UNIVERSITY.
 06/27/2023
              Ord Allow In Forma Pauperis

                Filed By: TAMARA HAWKINS
              Confid Filing Info Sheet Filed
                Filed By: TAMARA HAWKINS
              Petition Filed - No Fees

                Filed By: TAMARA HAWKINS
              Judge Assigned
Case: 4:23-cv-01126-JMB Doc. #: 1-2 Filed: 09/08/23 Page: 3 of 16 PageID #: 8
Case: 4:23-cv-01126-JMB Doc. #: 1-2 Filed: 09/08/23 Page: 4 of 16 PageID #: 9
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Case: 4:23-cv-01126-JMB Doc. #: 1-2 Filed: 09/08/23 Page: 6 of 16 PageID #: 11
Case: 4:23-cv-01126-JMB Doc. #: 1-2 Filed: 09/08/23 Page: 7 of 16 PageID #: 12
Case: 4:23-cv-01126-JMB Doc. #: 1-2 Filed: 09/08/23 Page: 8 of 16 PageID #: 13
Case: 4:23-cv-01126-JMB Doc. #: 1-2 Filed: 09/08/23 Page: 9 of 16 PageID #: 14
            Case: 4:23-cv-01126-JMB Doc. #: 1-2 Filed: 09/08/23 Page: 10 of 16 PageID #: 15
                            FILED AS A POOR PERSON
            IN THE 22ND JUDICIAL CIRCUIT, CITY OF ST LOUIS, MISSOURI

 Judge or Division:                                           Case Number: 2322-CC01286
 ELIZABETH BYRNE HOGAN
 Plaintiff/Petitioner:                                        Plaintiff’s/Petitioner’s Attorney/Address
 TAMARA HAWKINS                                               TAMARA HAWKINS
                                                              2322 MENARD STREET
                                                        vs.   SAINT LOUIS, MO 63104-4219
 Defendant/Respondent:                                        Court Address:
 CHAMBERLAIN UNIVERSITY                                       CIVIL COURTS BUILDING
 Nature of Suit:                                              10 N TUCKER BLVD
 CC Breach of Contract                                        SAINT LOUIS, MO 63101                                           (Date File Stamp)
                                                        Summons in Civil Case
  The State of Missouri to: CHAMBERLAIN UNIVERSITY
                            Alias: COLLEGE OF NURSING AND HEALTH SCIENCES INC
                            DBA CHAMBERLAIN UNIVERSITY
 CT CORPORATION SYSTEM
 120 SOUTH CENTRAL AVENUE
 CLAYTON, MO 63105

       COURT SEAL OF                You are summoned to appear before this court and to file your pleading to the petition, a
                                    copy of which is attached, and to serve a copy of your pleading upon the attorney for
                                    plaintiff/petitioner at the above address all within 30 days after receiving this summons,
                                    exclusive of the day of service. If you fail to file your pleading, judgment by default may
                                    be taken against you for the relief demanded in the petition.

      CITY OF ST LOUIS                          June 28, 2023
                                                      Date                                                  Circuit Clerk
                                   Further Information:
                                                         Sheriff’s or Server’s Return
     Note to serving officer: Summons should be returned to the court within 30 days after the date of issue.
     I certify that I have served the above Summons by: (check one)
         delivering a copy of the summons and petition to the defendant/respondent.
         leaving a copy of the summons and petition at the dwelling house or usual place of abode of the defendant/respondent with
           _________________________________________________, a person at least 18 years of age residing therein.
         (for service on a corporation) delivering a copy of the summons and petition to:
         _____________________________________________ (name) ____________________________________________ (title).
         other: ________________________________________________________________________________________________.

     Served at _______________________________________________________________________________________ (address)
     in _____________________________ (County/City of St. Louis), MO, on _____________________ (date) at ___________ (time).

     _______________________________________________                           _________________________________________________
                    Printed Name of Sheriff or Server                                                Signature of Sheriff or Server
                                 Must be sworn before a notary public if not served by an authorized officer:
                                 Subscribed and sworn to before me on _______________________________ (date).
           (Seal)
                                  My commission expires: __________________                ________________________________________
                                                                     Date                                        Notary Public
   Sheriff’s Fees, if applicable
   Summons                       $
   Non Est                       $
   Sheriff’s Deputy Salary
   Supplemental Surcharge        $   10.00
   Mileage                       $                (______ miles @ $.______ per mile)
   Total                         $
   A copy of the summons and petition must be served on each defendant/respondent. For methods of service on all classes of suits,
   see Supreme Court Rule 54.

SJRC (07-21) SM30 (SMCC) For Court Use Only: Document ID # 23-SMCC-3589 1 of 1 (2322-CC01286)    Civil Procedure Form No. 1, SCR 54.01 – 54.05,
                                                                                        54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
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                                                                                  Electronically Filed - CITY OF ST. LOUIS - July 18, 2023 - 11:05 AM
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Case: 4:23-cv-01126-JMB Doc. #: 1-2 Filed: 09/08/23 Page: 14 of 16 PageID #: 19
Case: 4:23-cv-01126-JMB Doc. #: 1-2 Filed: 09/08/23 Page: 15 of 16 PageID #: 20
Case: 4:23-cv-01126-JMB Doc. #: 1-2 Filed: 09/08/23 Page: 16 of 16 PageID #: 21
